Case: 4:23-cv-01729-JMB          Doc. #: 48       Filed: 05/13/25      Page: 1 of 2 PageID #: 310




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

TAREN RUTZ,                       )
                                  )
        Plaintiff,                )
                                  )
    vs.                           )                    Case No. 4:23 CV 1729 JMB
                                  )
METRO-WEST ANESTHESIA GROUP, INC.,)
                                  )
        Defendant.                )

                                MEMORANDUM AND ORDER

       On March 27, 2025, this matter was dismissed with prejudice pursuant to Federal Rule of

Civil Procedure 37 (Doc. 46). In addition, Plaintiff’s counsel was directed to pay Defendant’s

reasonable expenses as allowed by Rule 37(b)(2)(C). At a March 6, 2025 hearing, Defendant

represented that it spent at least 30 attorney hours on discovery disputes at a rate of $250.00 per

hour. Plaintiff offered no objections to the requested amount. As such, this Court directed

Defendant to file an affidavit setting forth its reasonable expenses and costs. Defendant filed an

affidavit on April 24, 2025 supporting its claim for attorney fees (Doc. 47).

       Attorney Chris Bailey, a partner of the law firm UB Greensfelder, LLP, avers that his firm

billed Defendant at a rate of $250.00 per hour for partner time and $125.00 per hour for associate

time. The hourly rate charged is well below the prevailing market rate and represents a significant

discount. Jet Midwest Int’l Co. v. Jet Midwest Grp., LLC, 93 F.4th 408, 420 (8th Cir. 2024)

(noting that the district court is familiar with the local bar). Mr. Bailey further avers that based on

the total number of hours worked, Defendant was billed the amount of $7,554.50 in attorney fees.

This amount represents 31.1 hours of work related to the discovery disputes at issue in this case at

the hourly rate for partner and associate attorney time. Billing entries show that Defendant’s



                                             Page 1 of 2
Case: 4:23-cv-01729-JMB         Doc. #: 48      Filed: 05/13/25      Page: 2 of 2 PageID #: 311




attorneys spent time drafting pleadings, discussing discovery responses via email and phone,

drafting submissions to the Court, and preparing for and attending hearings. Plaintiff filed no

objection to the affidavit or any of the material contained therein. The Court has reviewed the

affidavit and the accompanying timesheet and finds that the number of hours spent is reasonable.

See Farmers Co-op Co. v. Senske & Son Transfer Co., 572 F.3d 492, 500 (8th Cir. 2009).

       Accordingly, IT IS HEREBY ORDERED that Defendant is awarded $7,554.50 in

attorney’s fees and payable to Defense counsel, to be paid by Plaintiff’s counsel, Kristine Shilt of

the law firm Renz Law LLC, within thirty (30) days of the date of this Order.


                                                     /s/ John M. Bodenhausen
                                                     JOHN M. BODENHAUSEN
                                                     UNITED STATES MAGISTRATE JUDGE

Dated this 13th day of May, 2025




                                            Page 2 of 2
